             Case 22-60043 Document 299 Filed in TXSB on 12/06/22 Page 1 of 4


                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 In re:                                             §
                                                    §
 FREE SPEECH SYSTEMS, LLC,                          §           Case No. 22--60043
                                                    §
                                DEBTOR.             §           (Subchapter V Debtor)
                                                    §               Chapter 11


                   DEBTOR’S SECOND EMERGENCY MOTION FOR
              EXTENSION OF TIME TO FILE A PLAN OF REORGANIZATION

Emergency relief has been requested. If the Court considers the motion on an emergency basis,
then you will have less than 21 days to answer. If you object to the requested relief or if you believe
that the emergency consideration is not warranted, you should file an immediate response.

A hearing may be conducted on this matter on December 16, 2022, at 2:00 p.m.

Participation in the hearing will only be permitted by an audio and video connection.

Audio communication will be by use of the court’s dial-in facility. You may access the facility at
832-917-1510. Once connected, you will be asked to enter the conference room number. Judge
Lopez’s conference room number is 590153. Video communication will be by use of the
GoToMeeting platform. Connect via the free GoToMeeting application or click the link on Judge
Lopez’s home page. The meeting code is “judgelopez”. Click the settings icon in the upper right
corner and enter your name under the personal information setting.

Hearing appearances must be made electronically in advance of both electronic and in-person
hearings. To make your appearance, click the “electronic appearance” link on Judge Lopez’s home
page. Select the case name, complete the required fields, and click “submit” to complete your
appearance.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

          Free Speech Systems, LLC (the “Debtor” or “FSS”), the debtor and debtor-in-possession in

the above-captioned chapter 11 case (the “Chapter 11 Case”), respectfully files this Second Motion

for Extension of Time to File a Plan of Reorganization (“Motion”) requesting entry of an order

substantially in the form attached hereto (the “Proposed Order”) In support of the Application, the

Debtor respectfully represents as follows:




                                                    1
            Case 22-60043 Document 299 Filed in TXSB on 12/06/22 Page 2 of 4


                                          JURISDICTION

       1.       The United States Bankruptcy Court for the Western District of Texas has jurisdiction

over this matter under 28 U.S.C. § 1334. The matter is a core proceeding pursuant to 28 U.S.C. §

157(b)(2)(A).

       2.       The statutory bases for relief requested herein are pursuant to 11 U.S.C. §§ 105(a) and

1189 of the Bankruptcy Code, Rule 3016 of the Federal Rules of Bankruptcy Procedure, and Rule

9013-1 of the Bankruptcy Local Rules for the Southern District of Texas (“L. Rule”).

       3.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          BACKGROUND

       4.       On July 29, 2022 (the “Petition Date”), the Debtor commenced a case by filing a

petition for relief under chapter 11, subchapter v, of the Bankruptcy Code with the Court.

       5.       The Debtor continues to operate its businesses and manage its assets as a Debtor and

a Debtor-in-Possession pursuant to Bankruptcy Code § 1182(2).

       6.       As of the filing of this Application, no creditors’ committee has been appointed in the

Chapter 11 Case by the Office of the United States Trustee for Region 7 (the “U.S. Trustee”).

       7.       On October 12, 2022 the Court entered the Stipulation and Agreed Order [ECF # 233]

ordering the Debtor, the “Sandy Hook Families” and PQPR, among others to mediation before the

Honorable Marvin Isgur. The mediation is ongoing and, unless Judge Isgur declares an impasse,

likely to continue for months as the parties explore the possibility of settlement.

       8.       The filing and prosecution of a plan by the Debtor would not be productive at this time

and indeed, it might be detrimental to the mediation.

       9.       On October 25, 2022, the Court entered its Order Granting Motion for Extension of

Time To File a Plan of Reorganization [ECF # 254] extending the time to file a plan until December

16, 2022.


                                                   2
             Case 22-60043 Document 299 Filed in TXSB on 12/06/22 Page 3 of 4


                                      RELIEF REQUESTED

       10.      By this Motion, the Debtor seeks entry of an order extending the deadline in which a

Subchapter V Plan may be filed for a period of not less than 60 days.

       11.      The Debtor requests an emergency hearing on this Motion as the deadline for the

Debtor to file a plan is December 16, 2022.

                               BASES FOR RELIEF REQUESTED

       12.      Pursuant to 11 U.S.C. § 1189(b), the Debtor is required to file its Plan of

Reorganization within 90 days of the Petition Date, except that the Court may extend the period if the

need for the extension is attributable to circumstances for which the Debtor should not justly be held

accountable.

       13.      The original deadline for the Debtor to file a plan of reorganization was October 27,

2022, which was extended by Court Order until December 16, 2022.

       14.      The agreement to proceed to mediation as a means of potentially arriving at a

resolution of a highly contentious case are circumstances for which the Debtor should not justly be

held accountable.




                                                  3
           Case 22-60043 Document 299 Filed in TXSB on 12/06/22 Page 4 of 4


                                             CONCLUSION

        WHEREFORE, the Debtor respectfully requests that the Court enter an order substantially in

the form of the Proposed Order and grant any other appropriate relief.

Dated: December 6, 2022

                                                         FREE SPEECH SYSTEMS, LLC


                                                         /s/ Ray Battaglia
                                                         Law Office of Raymond W. Battaglia
                                                         Raymond W. Battaglia
                                                         State Bar No. 01918055
                                                         rbattaglialaw@outlook.com
                                                         66 Granburg Circle
                                                         San Antonio, Texas 78218

                                                         COUNSEL TO FREE SPEECH SYSTEMS,
                                                         LLC, DEBTOR AND DEBTOR-IN-
                                                         POSSESSION


                                  CERTIFICATE OF ACCURACY

       I hereby certify that the foregoing statements are true and accurate to the best of my knowledge
and belief. This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).



                                                         /s/ Raymond W. Battaglia                   .
                                                         Raymond W. Battaglia




                                    CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing document was filed with the Court and served
electronically upon those parties registered to receive electronic notice via the Court’s CM/ECF
system, as set forth below. I further certify that it has been transmitted by first class mail to the parties
on the attached service list and those listed below.




                                                     4
